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US. District Court
Southern District of New York (Foley Square)
CIVIL DOCKET FOR CASE #: 1:19-mc-00459-JPO

Genger Date Filed: 10/10/2019
Assigned to: Judge J. Paul Oetken
Cause: M 08-85 Motion to Quash

 

 

 

Debtor
Orly Genger
Debtor
Movant
Kasowitz Benson Torres LLP represented by Michael Paul Bowen
Kasowitz, Benson, Torres LLP (NYC)
1633 Broadway
New York, NY 10019
(212)506-1700 x1903
Fax: (212)506-1800
Email: mbowen@kasowitz.com
LEAD ATTORNEY
ATTORNEY TO BE NOTICED
ADR Provider
Sagi Genger represented by John Dellaportas
Emmet, Marvin & Martin LLP
120 Broadway
New York, NY 10271
212-238-3000
Fax: 21 2-238-3100 .
Email ni Le toby
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Subpoena . Other Court Name: United States District Court estern District

 

 

 

 

 

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of Texas. Other Court Case Number: 19-bk-10926. (Filing Fee $ 47.00, Receipt
Number ANYSDC-17754776)Document filed by Kasowitz Benson Torres
LLP.(Bowen, Michael!) (Entered: 10/10/2019)

MEMORANDUM OF LAW in Support re: 1 MISCELLANEOUS CASE
INITIATING DOCUMENT - MOTION to Quash Subpoena . Other Court
Name: United States District Court - Western District of Texas. Other Court
Case Number: 19-bk-10926. (Filing Fee $ 47.00, Receipt Number ANYSDC-
17754776) . Document filed by Kasowitz Benson Torres LLP. (Attachments: #
1 Exhibit A : Subpoena)(Bowen, Michael) (Entered: 10/10/2019)

MISCELLANEOUS COVER SHEET filed. (Bowen, Michael) (Entered:
10/10/2019)

10/11/2019 Case Designated ECF. (wb) (Entered: 10/11/2019)

10/11/2019 MISCELLANEOUS CASE OPENING INITIAL ASSIGNMENT NOTICE:
The above-entitled action is assigned to Judge J. Paul Oetken. Please download
and review the Individual Practices of the assigned District Judge, located at
http://nysd.uscourts.gov/judges/District. Attorneys are responsible for
providing courtesy copies to judges where their Individual Practices require
such. Please download and review the ECF Rules and Instructions, located at
http://nysd.uscourts.gov/ecf _filing.php. (wb) (Entered: 10/11/2019)

NOTICE OF APPEARANCE by John Dellaportas on behalf of Sagi Genger.
(Dellaportas, John) (Entered: 10/11/2019)

LETTER addressed to Judge J. Paul Oetken from John Dellaportas dated
10/11/2019 re: Motion to Quash. Document filed by Sagi Genger.(Dellaportas,
John) (Entered: 10/11/2019)

 

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ORDER. Kasowitz Benson Torres LLP has filed a motion to quash a subpoena
sought by Sagi Genger. (Dkt. No. 1.) Kasowitz has, however, consented to
transferring the motion to quash to the court that issued the subpoena, the
United States Bankruptcy Court for the Western District of Texas. (See Dkt.
No. 2 paragraph 5.) Sagi Genger has also consented to transfer. (See Dkt. No.
5.) Federal Rule of Civil Procedure 45 provides, in relevant part, that "[w]hen
the court where compliance is required did not issue the subpoena, it may
transfer a motion under this rule to the issuing court if the person subject to the
subpoena consents." Fed. R. Civ. P. 45(f). Accordingly, Kasowitz's motion is
hereby transferred to the United States Bankruptcy Court for the Western
District of Texas for determination in connection with the underlying litigation,
In re Orly Genger, No. 19-BK-10926 (Bankr. W.D. Tex.). The Clerk of Court is
directed to close the motion at Docket No. 1 and to close this case. SO
ORDERED. (Signed by Judge J. Paul Oetken on 10/15/2019) (jm)
Transmission to Office of the Clerk of Court for processing. (Entered:
10/15/2019)

 

 

 

 

 

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10/15/2019

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Transmission to Docket Assistant Clerk. Transmitted re: 6 Order to the Docket
Assistant Clerk for case processing. (rjm) (Entered: 10/17/2019)

 

 

 

 

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